Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.1 Page 1 of 10

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IN THE UNITED STATES DISTRICT COURT

 

 

 

DISTRICT OF UTAH
UNITED STATES OF AMERICA, INDICTMENT
Plaintiff, Counts 1-8: 18 U.S.C. § 1014 (False
Statements to a Bank)
VS.
Count 9: 18 U.S.C. § 1957 (Money
ALLISON MARIE BAVER, Laundering)
Defendant.
Case: 2:21~cr-00520
Assigned To : Parrish, Jill N.
The Grand Jury Charges: Assign. Date : 12/15/2021

Background

At all times relevant to this Indictment:

l. Defendant ALLISON MARIE BAVER (“BAVER”) was a resident of Utah.

2. Allison Baver Entertainment, LLC (“ABE”) was registered with the Utah
Division of Corporations on October 9, 2019. BAVER is listed as the owner and registered
agent for ABE.

3. Northeast Bank is a financial institution headquartered in Portland, ME, the

accounts of which are insured by the Federal Deposit Insurance Corporation (“FDIC”).

 

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.2 Page 2 of 10

4, Meridian Bank is a financial institution headquartered in Paoli, PA, the
accounts of which are insured by the FDIC.

5. Lendio, Inc. (“Lendio”), offers clearinghouse services for small businesses
seeking various types of financing. The company, headquartered in Lehi, UT, allows its
small business customers to submit loan applications that Lendio screens and submits to
matched lenders.

6. The United States Small Business Administration (“SBA”) is an executive-
branch agency of the United States federal government that provides support to
entrepreneurs and small businesses. The mission of the SBA is to maintain and strengthen
the nation’s economy by enabling the establishment and viability of small businesses and
by assisting in the economic recovery of communities after disasters. As part of this effort,
the SBA enables and provides for loans through banks, credit unions, and other lenders.
These loans have government backed guarantees.

7. In addition to traditional SBA funding programs, the CARES Act, which was
signed into law in March 2020, established several new temporary programs and provided
for the expansion of others to address the COVID-19 outbreak.

8. One of these new programs is the SBA Paycheck Protection Program (PPP),
which is a loan designed to provide a direct incentive for small businesses to keep their
workers on the payroll. Under this program, the SBA will forgive all or part of loans if all
employees were kept on the payroll for eight weeks and borrowers submit documentation

confirming that the loan proceeds were used for payroll, rent, mortgage interest, or utilities.

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.3 Page 3 of 10

9, Payroll, as defined by the PPP, excludes compensation of an individual
employee in excess of an annual salary of $100,000, prorated as necessary.

10. Interested applicants apply through an existing SBA lender or any other
participating federally insured financial institution. Program requirements include that the
borrower business was in operation on February 15, 2020, and either had employees for
whom the business paid salaries and payroll taxes or paid independent contractors as
reported on a Form 1099-MISC.

11. The PPP application process requires applicants to submit a Borrower
Application Form through an SBA-approved financial entity. The application contains
information as to the purpose of the loan, average monthly payroll, number of employees
and background of the business and its owner.

Counts 1-8

18 U.S.C. 1014
(False Statement to a Bank)

12. On or about April 13, 2020, defendant BAVER completed a PPP loan
application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this
application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a, ABE’s average monthly payroll was $4,000,000; when, in fact, ABE had
no average monthly payroll; and

b. ABE had 100 employees; when, in fact, ABE had no employees.

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.4 Page 4 of 10

13. On or about April 14, 2020, defendant BAVER completed a PPP loan
application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this
application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a. ABE’s average monthly payroll was $4,000,000; when, in fact, ABE had
no average monthly payroll; and
b. ABE had 105 employees; when, in fact, ABE had no employees.

14. On or about April 16, 2020, defendant BAVER completed a PPP loan
application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this
application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a. ABE’s average monthly payroll was $4,000,000; when, in fact, ABE had
no average monthly payroll; and
b. ABE had 105 employees; when, in fact, ABE had no employees.

15. On or about April 23, 2020, defendant BAVER completed a PPP loan
application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this
application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a. ABE’s average monthly payroll was $4,000,000; when, in fact, ABE had
no average monthly payroll; and

b. ABE had 430 employees; when, in fact, ABE had no employees.

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.5 Page 5 of 10

16. On or about April 24, 2020, defendant BAVER completed and submitted a
PPP loan application to Meridian Bank. In this application, defendant BAVER made or
caused to be made, one or more of the following false statements:

a. ABE’s average monthly payroll was $4,769,583; when, in fact, ABE had
no average monthly payroll; and
b. ABE had 430 employees; when, in fact, ABE had no employees.

17. On or about April 25, 2020, defendant BAVER completed and submitted a
PPP loan application to Meridian Bank. In this application, defendant BAVER made or
caused to be made, one or more of the following false statements:

a. ABE’s average monthly payroll was $4,770,583; when, in fact, ABE had
no average monthly payroll; and
b. ABE had 430 employees; when, in fact, ABE had no employees.

18. On or about April 25, 2020, defendant BAVER completed a PPP loan
application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this
application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a. ABE’s average monthly payroll was $4,770,583; when, in fact, ABE had
no average monthly payroll; and
b. ABE had 430 employees; when, in fact, ABE had no employees.
19. On or about April 26, 2020, defendant BAVER completed a PPP loan

application through Lendio, which Lendio thereafter submitted to Northeast Bank. In this

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.6 Page 6 of 10

application, defendant BAVER made or caused to be made, one or more of the following
false statements:

a. ABE’s average monthly payroll was $4,770,583; when, in fact, ABE had

no average monthly payroll; and
b. ABE had 430 employees; when, in fact, ABE had no employees.
20. On or about the dates listed below, in the District of Utah and elsewhere,
ALLISON MARIE BAVER,

defendant herein, did knowingly make and attempt to make the false statements listed
below for the purpose of influencing the actions of banking institutions, the deposits of
which were then insured by the FDIC, in connection with PPP loan applications for

$10,000,000:

 

Count Date Bank False Statements

 

1 4/13/2020 | Northeast Bank a. ABE’s average monthly payroll was
$4,000,000; when, in fact, ABE had no
average monthly payroll;

b. ABE had 100 employees; when, in
fact, ABE had no employees;

 

2 4/14/2020 | Northeast Bank a. ABE’s average monthly payroll was
$4,000,000; when, in fact, ABE had no
average monthly payroll;

b. ABE had 105 employees; when, in
fact, ABE had no employees;

 

3 4/16/2020 | Northeast Bank a. ABE’s average monthly payroll was
$4,000,000; when, in fact, ABE had no
average monthly payroll;

 

 

 

 

 

 

 
Case 2:21-cr-00520-JNP Document 1 Filed 12/15/21 PagelD.7 Page 7 of 10

 

 

 

Count Date Bank False Statements
b. ABE had 105 employees; when, in
fact, ABE had no employees;
4 4/23/2020 | Northeast Bank a. ABE’s average monthly payroll was

$4,000,000; when, in fact, ABE had no
average monthly payroll;

b. ABE had 430 employees; when, in
fact, ABE had no employees;

 

5 4/24/2020

Meridian Bank

a. ABE’s average monthly payroll was
$4,769,583; when, in fact, ABE had no
average monthly payroll;

b. ABE had 430 employees; when, in
fact, ABE had no employees;

 

6 4/25/2020

Meridian Bank

a. ABE’s average monthly payroll was
$4,770,583; when, in fact, ABE had no
average monthly payroll;

b. ABE had 430 employees; when, in
fact, ABE had no employees;

 

7 4/25/2020

Northeast Bank

a. ABE’s average monthly payroll was
$4,770,583; when, in fact, ABE had no
average monthly payroll;

b. ABE had 430 employees; when, in
fact, ABE had no employees;

 

8 4/26/2020

 

 

 

Northeast Bank

 

a. ABE’s average monthly payroll was
$4,770,583; when, in fact, ABE had no
average monthly payroll;

b. ABE had 430 employees; when, in
fact, ABE had no employees;

 

 

All in violation of 18 U.S.C. § 1014.

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.8 Page 8 of 10

Count 9
18 U.S.C. 1957
(Money Laundering)

21. The factual allegations set forth in paragraphs 1-19 above are incorporated
by referenced and realleged as though fully set forth herein.

22. On or about May 11, 2020, Meridian Bank funded a PPP loan to ABE for
$10,000,000, depositing the funds into ABE’s Meridian Bank account ending in x2022.

23. Onor about May 12, 2020, BAVER transferred $9,999,500 of those funds to
ABE’s Meridian Bank account ending in x8439.

24. Onor about July 23, 2020, BAVER transferred $150,000 of ABE’s PPP loan
funds to Company X, from ABE’s Meridian Bank account ending in x8439, for the purpose
of investing in a film entitled No Man of God.

25. Onor about the date listed below, in the District of Utah and elsewhere,

ALLISON MARIE BAVER,
defendant herein, did knowingly engage and attempt to engage in the following monetary
transaction by, through, and to a financial institution, affecting interstate or foreign
commerce, in criminally derived property of a value greater than $10,000.00, and such

property was derived from the specified unlawful activity of False Statement to a Bank as

alleged above, in instances including but not limited to the count below:

 

Count Date Monetary Transaction

9 7/23/2020 | $150,000 transfer to Company X to invest in the film entitled No
Man of God, from ABE’s Meridian Bank account ending in
x8439, for the purpose of investing in a movie

 

 

 

 

 

 

All in violation of 18 U.S.C. § 1957.

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.9 Page 9 of 10

NOTICE OF INTENT TO SEEK FORFEITURE
Pursuant to 18 U.S.C. § 982(a)(2), upon conviction of any offense violating 18
U.S.C. § 1014, the defendant shall forfeit to the United States of America any property
constituting, or derived from, proceeds obtained directly or indirectly, as a result of the
scheme to defraud. The property to be forfeited includes, but is not limited to:

© $9,538,720.95;

e amoney judgment equal to the value of any property not available for forfeiture
as a result of any act or omission of the defendant(s) for one or more of the
reasons listed in 21 U.S.C. § 853(p);

e substitute property as allowed by 18 U.S.C. § 982(b) and 21 U.S.C. § 853(p).

Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of any offense in violation of 18

U.S.C. § 1957, the defendant shall forfeit to the United States of America any property,
real or personal, involved in such violations, and any property traceable to such property.
The property to be forfeited includes, but is not limited to:

e $150,000 investment in film entitled No Man of God;

e amoney judgment equal to the value of all property not available for forfeiture
as a result of any act or omission of the defendant(s) for one or more of the
reasons listed in 21 U.S.C. § 853(p); and

e substitute property as allowed by 18 U.S.C. § 982(b) and 21 U.S.C. § 853(p).

GRAND JURY’S PROBABLE CAUSE FINDING REGARDING FORFEITURE

The grand jury finds probable cause to believe that:

 
Case 2:21-cr-00520-JNP Document1 Filed 12/15/21 PagelD.10 Page 10 of 10

1) The defendant has committed the crimes specified in the above forfeiture
notice;
2) The $9,538,720.95 is constituted or derived from proceeds traceable to
making a false statement to a bank;
3) The $150,000 investment in film entitled No Man of God is involved in
money laundering or property traceable to property involved in money laundering; and
4) In the event of the defendant’s conviction such property would be subject
to forfeiture:
a. $9,538,720.95; and
b. $150,000 investment in film entitled No Man of God.

A TRUE BILL:

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FOREPERSON OF GRAND JURY

 

ANDREA T. MARTINEZ
Acting United States Attorney

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AARON B. CLARK :
Assistant United States Attorney

 

 

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